Case 9:19-cv-81160-RS Document 342-7 Entered on FLSD Docket 04/20/2020 Page 1 of 6




                         EXHIBIT G
Case 9:19-cv-81160-RS Document 342-7 Entered on FLSD Docket 04/20/2020 Page 2 of 6
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    1                        UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
    2                          WEST PALM BEACH DIVISION
                             CASE NO. 19-81160-CIVIL-SMITH
    3

    4    APPLE, INC.,                             West Palm Beach, Florida

    5                      Plaintiff,             February 12, 2020
                                                        -and-
    6                vs.                          February 13, 2020

    7    CORELLIUM, LLC,

    8                   Defendant.          Pages 1 to 368
         ______________________________________________________________
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   10                              MOTION HEARING
                      BEFORE THE HONORABLE WILLIAM MATTHEWMAN,
   11                      UNITED STATES MAGISTRATE JUDGE
                   (TRANSCRIBED FROM THE DIGITAL AUDIO RECORDING)
   12
         APPEARANCES:
   13

   14    FOR THE PLAINTIFF:             JESSICA STEBBINS BINA, ESQ.
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Case 9:19-cv-81160-RS Document 342-7 Entered on FLSD Docket 04/20/2020 Page 3 of 6
                                                                              114


    1              MR. LEVINE:    We can probably put that in the affidavit,

    2    sir.

    3              THE COURT:    I mean, if they're concerned about that.

    4              But the problem I'm having is you seem to accept your

    5    client's position as gospel and your argument seems to be:

    6    This is the way it is.      Therefore, Apple has no right to

    7    discover into any other alternative explanation of what

    8    Corellium is doing.

    9              And that's not the way it works.       Apple has a right to

   10    find out this product that they're alleging is infringing on

   11    their copyright.     They have a right to understand what

   12    Corellium has done by taking their iOS or utilizing their

   13    files, their proprietary information and what they've done with

   14    this inside Corellium that violated copyright.

   15              And I understand you're saying that this is a virtue --

   16    a visualization project or a virtualization product.           But they

   17    need to get sufficient discovery in order for them to determine

   18    if that argument is correct or not.

   19              MR. LEVINE:    Right.

   20              So I think the point that I've made consistent

   21    throughout today's proceedings as well as through our

   22    conferrals is that we concede that code, function, design, use

   23    as it relates to the virtualization of iOS would be -- would be

   24    discoverable.

   25              Anything relating to their core product, hypervisor,
Case 9:19-cv-81160-RS Document 342-7 Entered on FLSD Docket 04/20/2020 Page 4 of 6
                                                                              310


    1    involved on Defendant's side had said something that made it a

    2    very central issue in our view to understand more fully the

    3    nature of this relationship or alleged relationship, because it

    4    would have been potentially impairing all of our requested

    5    relief in the action.

    6              And so we had to seek discovery on it.

    7              THE COURT:    Okay.   So let me just --

    8              MS. STEBBINS BINA:     So that --

    9              THE COURT:    Let me tell you what my position is on

   10    this, because I did look at this.

   11                                                                            I

   12    don't think matters in this case.

   13              However, the only thing that might matter is whether

   14              uses the allegedly infringed product by giving it to

   15                or selling it to               or allowing         to use

   16    it.

   17              I think that could be relevant in this case.

   18              MR. LEVINE:    I can clarify that.     I'll go on the record

   19    right now and say that is not the case and that does not

   20    happen.

   21              MR. GAUKROGER:    And we agreed to that yesterday.

   22              MS. STEBBINS BINA:     And, your Honor, in terms of the

   23    sealing motion, obviously,

   24                                                                    or

   25    anything along those lines.
Case 9:19-cv-81160-RS Document 342-7 Entered on FLSD Docket 04/20/2020 Page 5 of 6
                                                                              311


    1              THE COURT:    Sure.

    2              MS. STEBBINS BINA:     But counsel was so careful in

    3    writing it, I'm not sure there's actually anything in there

    4    that does that.     It's -- and they filed the whole thing under

    5    seal.

    6              THE COURT:    Right.   And again, I don't think whole

    7    motions and replies should be filed under seal.          So --

    8              MR. LEVINE:    We'll redact.

    9              THE COURT:    I'll let you work on it.      But I do agree

   10    with you that I don't want to get into anything about his

   11    alleged involvement one way or the other,

   12                                                  .

   13              If in fact he has this Apple product -- Corellium Apple

   14    product, however you all define it, and           has not given it to

   15                        or sold it to                     , then I just

   16    don't see how it comes into play at all.

   17              So I don't think discovery into that whole area is

   18    appropriate.

   19              MS. STEBBINS BINA:     And we agree, your Honor.       Again,

   20    we had sought the discovery based on a different representation

   21    by another defendant's law firms.

   22              THE COURT:    Okay.    So why don't you do -- on the

   23    sealing issues, if you could go back and work on those and

   24    then --

   25              MR. LEVINE:    Perfect.
Case 9:19-cv-81160-RS Document 342-7 Entered on FLSD Docket 04/20/2020 Page 6 of 6
                                                                              323


    1    soon as we get them all done.

    2              And then just keep in mind we need to be back here --

    3    we need to have all this production done by the 24th and then

    4    we'll be back here on the 27th at 10:00 a.m.         All right?

    5              MR. LEVINE:    Thank you, your Honor.

    6              MS. STEBBINS BINA:     Your Honor, thank you.

    7              THE COURT:    Have a good day.

    8              MS. STEBBINS BINA:     Thank you.

    9              THE COURT:    Court's in recess.

   10              (Proceedings concluded.)

   11

   12

   13
                                 C E R T I F I C A T E
   14

   15                I hereby certify that the foregoing is an

   16    accurate transcription of the proceedings in the

   17    above-entitled matter to the best of my ability.

   18

   19
         ____________            /s/Lisa Edwards
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